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Case 1:10-mj-01411-RML Documents cied 12/011 Payee ore PRED #: 7

AQ ASE (Rev 0649) Appearance af Counsel

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

ao ._ United States
Plaintiff
VO
_ Russell OQchocki
Defendant

Case No.

Ne ee ee

APPEARANCE OF COUNSEL.
To: The clerk of court and all parties of record
Jam admitted or otherwise authorized to practice in this court, and | appear in this case as counsel for.

_ Russell Ochocki.

Date: _ 11/30/2010

Atiorney's stenature

 

_ Zachary Margulis-Ohnuma (2N4932)

Printed name and bar anniher

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